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FILED
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IN THE UNITED STATES DISTRICT COURT FOR THE a a.
EASTERN DISTRICT OF VIRGINIA | |
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Alexandria Division 3. CLERK, US. DISTRICT CL RT
ALEXANDRIA, VIRGINIA mail
UNITED STATES OF AMERICA ) UNDER SEAL
)
Vv. ) Criminal No. 1:20-cr-193
)
PETER RAFAEL DZIBINSKI ) Count 1: 18 U.S.C. § 794(a) & (c)
DEBBINS, ) Conspiracy to Gather or Deliver Defense
a/k/a “Ikar Lesnikov,” ) Information to Aid a Foreign Government
)
Defendant. ) Forfeiture Notice, 18 U.S.C. § 794(d)

INDICTMENT
August 2020 Term — At Alexandria
THE GRAND JURY CHARGES THAT:
At all times material to this Indictment, except as otherwise indicated:
General Allegations

1. Peter Rafael Dzibinski DEBBINS (“DEBBINS”) is a citizen of the United States
who was born in Minnesota. His mother was born in the former Soviet Union. DEBBINS
developed an interest in the Russian Federation (hereinafter, “Russia™) at least in part due to his
mother’s heritage.

2. DEBBINS first visited Russia in 1994, when he was 19 years old. Thereafter, he
traveled to Russia in 1995, 1996-1997, 1997-1998, 1999, 2000, 2003, 2008, and 2010.!

3: During one of his early visits to Russia, DEBBINS met his now-wife in

Chelyabinsk, a city in Russia with a nearby Russian air force base. DEBBINS and his wife

 

' When the Grand Jury alleges in this Indictment that an event occurred on a specific date, or in a
specific month or year, the Grand Jury means to conyey that the event occurred “on or about”
that date, month, or year.
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married in Chelyabinsk in November 1997. DEBBINS’s father-in-law was an officer in the
Russian military and lived in Chelyabinsk. DEBBINS’s wife, who was born in Russia,
naturalized as a U.S. citizen in July 2010.

A. DEBBINS’s Service in the U.S. Army and Security Clearances

4, DEBBINS served active duty in the U.S. Army from 1998 until 2005.

5. Prior to starting his active duty service, DEBBINS was a member of the Reserve
Officers’ Training Corps (ROTC) at the University of Minnesota. During this time, DEBBINS
signed an “Oath of Office” as a Reserve Commissioned Officer, in which he swore to “support
and defend the Constitution of the United States against all enemies, foreign and domestic,” and
to “bear true faith and allegiance to the same.”

6. DEBBINS graduated from the University of Minnesota in September 1997, and
received a reserve commission in the U.S. Army. In July 1998, DEBBINS began his active duty
service in the Army. Between his graduation in September 1997 and returning to the United
States to start his active duty service in July 1998, DEBBINS lived and worked in Russia.

7: From December 1998 to December 1999, DEBBINS deployed to the Republic of
Korea (hereinafter, “South Korea”) as a Lieutenant in the 4th Chemical Company.

8. From December 1999 to April 2001, DEBBINS served as a Lieutenant with the
7th Chemical Company at Fort Polk, Louisiana.

9. Around that time, DEBBINS was selected for the U.S. Army Special Forces. In
June 2003, after completion of his training, DEBBINS was assigned as a Captain to the Ist
Battalion, 10th Special Forces Group stationed in Germany.

10. DEBBINS, who had been granted a SECRET security clearance in 1996, was

granted a TOP SECRET security clearance, with Sensitive Compartmented Information (SCI)
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access, in August 2004.

11. | With his Special Forces unit, DEBBINS deployed to the Republic of Azerbaijan
in 2004. DEBBINS’s unit was responsible for operations in both Azerbaijan and the Republic of
Georgia. During this deployment, DEBBINS was investigated for a security violation and
removed from his command in Azerbaijan. DEBBINS’s security clearance was subsequently
suspended in late 2004 or early 2005, around or soon after the time he was removed from his
command in Azerbaijan.

12. DEBBINS was honorably discharged from active duty in the U.S. Army in
November 2005. DEBBINS served in the U.S. Army inactive reserve from December 2005 until
2010.

13. After his discharge from active duty service in the U.S. Army, DEBBINS lived in
Minnesota from 2005 to 2010, where he worked for a Ukrainian steel manufacturer and a
transportation company.

B. Classified Information

14. As of 2008, Executive Order 12958 signed on April 17, 1995, as amended by
Executive Order 13292 signed on March 25, 2003, governed the system for classifying,
safeguarding, and declassifying national security information.? Under that Executive Order,
national security information was classified as “TOP SECRET,” “SECRET,” or
“CONFIDENTIAL.” National security information was information owned by, produced by,
produced for, and under the control of the U.S. Government, and that was classified as follows:

a. Information was classified as TOP SECRET if its unauthorized disclosure

reasonably could be expected to cause exceptionally grave damage to the
national security that the original classification authority was able to identify

 

2 Executive Order 13526, dated December 29, 2009, replaced Executive Order 12958 (as
amended) and continued the same definitions and criteria for the levels of classification.
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and describe.

b. Information was classified as SECRET if its unauthorized disclosure
reasonably could be expected to cause serious damage to the national security
that the original classification authority was able to identify and describe.

C. Information was classified as CONFIDENTIAL if its unauthorized disclosure
reasonably could be expected to cause damage to the national security that the
original classification authority was able to identify and describe.

15. Access to national security information classified at any level could be further
restricted through compartmentation in SCI categories. Only individuals possessing both the
appropriate security clearance and specific, additional permissions could have authorized access
to SCI.

16. Information classified at any level could only be lawfully accessed by persons
determined by an appropriate U.S. government official to be eligible for access to classified
information, who had signed an approved nondisclosure agreement, who received a security
clearance, and who had a “need to know” the classified information.

17. _ In addition, classified information at times was also subject to dissemination
controls that further restricted the distribution of the information. As relevant here, classified
information marked “NF” or “NOFORN,” which stood for “No Foreign Dissemination,” denoted

that dissemination of the information was limited to U.S. persons.

Cc. Russian Intelligence Services and Associated Terms

18. The intelligence services of the Russian government include both civilian and
military components. The Main Intelligence Directorate of the General Staff, commonly known
as the “GRU,” and the Federal Security Service, or “FSB,” are two of the primary Russian
intelligence services.

19. | The GRU is Russia’s primary military intelligence agency. The GRU provides

strategic intelligence to support the Russian military. Among other activities, the GRU obtains

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and provides information concerning foreign nations’—particularly the United States’— military
preparedness, military and strategic infrastructure, capabilities, force deployment, personnel,
policy, weaponry, and new technologies.

20. The FSB is Russia’s primary domestic intelligence and security service. It has
wide-ranging responsibilities that include counterintelligence, counterterrorism, economic and
ecological security, and the protection of state secrets.

D. DEBBINS’s Initial Meetings with a Russian Intelligence Service in 1996

21. | DEBBINS traveled to Russia in 1996 as part of an independent study program
and lived in Chelyabinsk.

22. In December 1996, an agent of the Russian intelligence service contacted
DEBBINS and asked to meet with him. DEBBINS met with the agent, and they discussed
DEBBINS’s participation in the ROTC program and his plans for military service.

23. | DEBBINS subsequently had at least two meetings with one or more additional
Russian intelligence agents in December 1996, including an agent of the Russian intelligence
service who was from Samara, Russia (hereinafter, “RIS 1”). As a cover for their meetings, the
Russian intelligence service directed DEBBINS to tell his girlfriend that he was meeting with a
professor on campus.

24. During DEBBINS’s meetings with the Russian intelligence service in December
1996, DEBBINS and RIS | discussed DEBBINS’s ambitions, including his plans for military
service. DEBBINS informed RIS | that he was a “son of Russia” and was trying to learn about
Russia. RIS 1 tasked DEBBINS with getting the names of four nuns at a Catholic church that
DEBBINS visited. DEBBINS subsequently visited the nuns, obtained their names, and provided
the names to RIS |.

25. During DEBBINS’s meetings with the Russian intelligence service in December

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1996, DEBBINS described his political opinions, which were pro-Russian and anti-American.
26. During DEBBINS’s meetings with the Russian intelligence service in December
1996, a Russian intelligence agent also asked DEBBINS what he told his ROTC unit about his
connections to Russia. DEBBINS answered he was being very discrete. A Russian intelligence
agent instructed DEBBINS not to disclose his interactions with the Russian intelligence service.

E. DEBBINS’s Meetings with the Russian Intelligence Service from 1997 to 1998

27. | DEBBINS traveled to Russia again in September 1997, after graduating from the
University of Minnesota.

28. In October 1997, DEBBINS met with agents of the Russian intelligence service,
including RIS 1, at an office on the Russian military base in Chelyabinsk. During the meeting,
the Russian intelligence agents gave DEBBINS a code name, “Ikar Lesnikov.” DEBBINS wrote
a statement stating that he wanted to “serve Russia” and signed the statement with his code
name. One of the Russian intelligence agents (hereinafter, “RIS 2”) encouraged DEBBINS to
visit him in Samara before DEBBINS returned to the United States.

29. After the meeting in October 1997, DEBBINS worked in Russia until he was
called to start his active duty service in the U.S. Army in July 1998.

30. Before leaving Russia, DEBBINS contacted RIS 2 and informed him about his
plans to return to the United States. RIS 2 again urged DEBBINS to visit him in Samara before
departing. DEBBINS agreed and met RIS 2 at a train station in Samara. RIS 2 introduced
DEBBINS to another agent with the Russian intelligence service (hereinafter, “RIS 3”).

31. RIS 3 entertained DEBBINS for several days in the Volga region of Russia,
including at a countryside resort in the area. During this time, RIS 3 encouraged DEBBINS to
serve well in the U.S. Army.

32. Before DEBBINS departed for the United States, the Russian intelligence service
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provided him a telephone number to use to contact it and instructed DEBBINS to use his code
name if he did. DEBBINS told the Russian intelligence service that he would return to Russia
when he was on leave.

F. DEBBINS’s Meeting with the Russian Intelligence Service in 1999

33. | DEBBINS returned to Russia in June 1999 when he was on leave during his tour
in South Korea. The first week he was in Russia, DEBBINS called RIS 2 and informed him that
he was in Chelyabinsk.

34. | DEBBINS subsequently met with RIS 2 in Chelyabinsk. During the meeting,
DEBBINS asked RIS 2 which agency he worked for, and RIS 2 answered that he worked for the
GRU. Until that point, DEBBINS had assumed he was meeting with agents of the FSB. From
that point forward, DEBBINS understood that he was meeting with agents of the GRU.

35. During the meeting, RIS 2 asked DEBBINS for information about his unit in
South Korea. DEBBINS provided information to RIS 2 about, among other things, the number
of men in his platoon, the unit’s assigned equipment, and the unit’s mission.

36. During the meeting, DEBBINS told RIS 2 that he wanted to leave the U.S. Army.
RIS 2, however, encouraged DEBBINS to remain in the military.

37. At one point during the meeting, RIS 2 questioned whether DEBBINS was
actually a spy for a U.S. intelligence agency. DEBBINS denied the accusation, insisting that he
loved and was committed to Russia. RIS 2 asked DEBBINS whether he would be willing to
submit to a polygraph, and DEBBINS agreed. RIS 2 did not ultimately give him a polygraph.
RIS 2 also asked whether DEBBINS would agree to employ electronic equipment for the
Russian intelligence service, and DEBBINS agreed. Again, RIS 2 did not follow up on the
request.

38. During the meeting, RIS 2 provided DEBBINS with an address in Samara and
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told him to send a postcard as an emergency signal if he needed to make contact with the Russian
intelligence service. RIS 2 instructed DEBBINS to use his code name on the postcard and a
cover greeting like “Happy Victory Day” or “Happy Mother’s Day.”

39. During this time, DEBBINS sought to help Russia, as he considered himself pro-
Russian and a loyal son of Russia. DEBBINS thought that the United States was too dominant in
the world and needed to be cut down to size.

G. DEBBINS’s Meetings with the Russian Intelligence Service in 2000

40. | DEBBINS returned to Russia around July 2000. After he arrived, an agent with
the Russian intelligence service, “RIS 4,” called DEBBINS in Moscow and introduced himself
as RIS 2’s friend. RIS 4 informed DEBBINS that RIS 2 sent his greetings but had accepted
another job. RIS 4 was also from Samara but agreed to meet with DEBBINS in Moscow.
DEBBINS met with RIS 4 at least twice.

41. During the meetings, DEBBINS informed RIS 4 that he was joining the U.S.
Army Special Forces. RIS 4 encouraged DEBBINS to pursue the Special Forces. RIS 4 told
DEBBINS he was of no use to the Russian intelligence service as an infantry commander.

42. During the meetings, RIS 4 asked DEBBINS for information about DEBBINS’s
unit at Fort Polk. DEBBINS provided RIS 4 with information about the unit’s assigned
equipment and sateen

43. During the meetings, RIS 4 also paid DEBBINS $1,000 as gratitude for his
| assistance to the Russian intelligence service. Initially, DEBBINS declined the payment, stating
he had true love for Russia. However, DEBBINS ultimately accepted the money and signed for
it using his code name.

H. DEBBINS’s Meetings with the Russian Intelligence Service in 2003
44, DEBBINS traveled to Russia again in August 2003. After arriving, DEBBINS
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called a telephone number that the Russian intelligence service previously provided him.
DEBBINS arranged a meeting with the Russian intelligence service at a hotel in Chelyabinsk.
There, DEBBINS met with two agents of the Russian intelligence service whom he had not
previously met (hereinafter, “RIS 5” and “RIS 6”).

45, During the meeting, RIS 5 and RIS 6 asked DEBBINS about his unit, the Ist
Battalion, 10th Special Forces Group. DEBBINS provided information about the number of
companies and men in the unit, and their location and role.

46. During the meeting, RIS 5 and RIS 6 instructed DEBBINS not to take a
polygraph and offered to give him training on how to deceive polygraphs. They further
encouraged DEBBINS to continue pursuing a career in the Special Forces.

47. During the meeting, RIS 5 and RIS 6 gave DEBBINS a bottle of Cognac and a
Russian military uniform as a gift.

48. | Atsome point, RIS 5 informed DEBBINS that he was associated with the GRU.

I. DEBBINS’s Meetings with the Russian Intelligence Service in 2008

49. | DEBBINS traveled to Russia again from August to September 2008. During this
time, DEBBINS was no longer serving active duty in the U.S. military. According to DEBBINS,
he wanted to do business in Russia and sought the Russian intelligence service’s assistance in
doing so.

50. After arriving in Russia in August 2008, DEBBINS met with RIS 5 and another
Russian intelligence agent also from Samara (hereinafter, “RIS 7”) at least two or three times.
According to DEBBINS, he informed RIS 5 and RIS 7 that he was finished with the U.S. Army
and wanted to pursue business opportunities in Russia.

51. During the meetings in either 2008 or 2010, RIS 7 provided DEBBINS with the

name of his cover company and gave DEBBINS a business card with contact information. RIS 7

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instructed DEBBINS to tell his family that he was working with the cover company to explain
any calls that he might have with the Russian intelligence service.

52. During the meetings with RIS 5 and RIS 7, DEBBINS provided them with
information about, among other things, his former Special Forces unit’s mission and activities in
Azerbaijan and Georgia. This disclosure included information that was classified
SECRET//NOFORN, meaning that the unauthorized disclosure of the information, including to
foreign nationals, was prohibited and reasonably could be expected to cause serious damage to
U.S. national security.

53. During the meetings with RIS 5 and RIS 7, DEBBINS also provided them with
the names of and information about a number of his former Special Forces team members.
DEBBINS understood that RIS 5 and RIS 7 sought this information for the purpose of evaluating
whether to approach the team members to see if they would cooperate with the Russian
intelligence service. DEBBINS identified for RIS 5 and RIS 7 at least one specific Special
Forces team member whom he thought they could approach.

54. During the meetings with RIS 5 and RIS 7, DEBBINS also provided them with
the names of two U.S. counterintelligence officers who had previously attempted to recruit
DEBBINS to participate in a program.

55. | DEBBINS provided information to the Russian intelligence agents in 2008 at
least in part because he was angry and bitter about his time in the U.S. Army. DEBBINS also
thought that Russia needed to be built up and that America needed to be “‘cut down to size.”
DEBBINS further provided this information because he wanted to obtain the Russian
intelligence service’s assistance in doing business in Russia.

56. During the meetings, RIS 5 asked DEBBINS whether he had any U.S. military

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field manuals. After DEBBINS confirmed that he did, RIS 5 tasked DEBBINS with scanning
the field manuals, putting them on a flash drive, and bringing the flash drive to their next
meeting.

J. DEBBINS’s Applications for a Security Clearance and Correspondence with the
Russian Intelligence Service in 2008 and 2009

57. | DEBBINS returned to the United States from Russia in September 2008.

58. The following month, in October 2008, DEBBINS submitted a “Questionnaire for
National Security Positions (Standard Form-86),” commonly known as an “SF-86,” in
connection with a background investigation for a security clearance. The SF-86 included a
question that required him to disclose any contacts he ever had with a foreign government, an
establishment of a foreign government, or representatives of a foreign government. DEBBINS
did not disclose his contacts with the Russian intelligence service or any of its agents in response
to the question (or any other question).

59. Beginning in April 2009, DEBBINS and RIS 7 began exchanging a series of
emails that, on their face, referenced potential business opportunities. In an April 2009 email,
RIS 7 encouraged DEBBINS to travel to Russia for a visit, but DEBBINS did not commit to the
trip. Later, in August 2009, RIS 7 sent an email to DEBBINS inviting DEBBINS to travel to
Russia and offering to pay his expenses. DEBBINS, however, did not travel at that time.

60. In January 2010, an Adjudicator with the U.S. Army Central Personnel Security
Clearance Facility sent DEBBINS a letter notifying him that he had been granted a TS/SCI
security clearance. The letter, however, noted concems about DEBBINS’s business connections
and father-in-law, and his prior relief of command in Azerbaijan. The letter cautioned
DEBBINS that “[s]ituations such as those . . . have been exploited in the past by the intelligence

services of foreign countries.” The letter warned that “[e]xtensive association with foreign
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nationals increases the opportunities for [him] to be the target of a foreign intelligence service
and, therefore, should be avoided.” The letter emphasized DEBBINS’s “responsibilities for
reporting any possible contact by representatives or citizens of foreign countries.”

61. In August 2010, DEBBINS sent an email to RIS 7 to inform him that he planned
to travel to Russia in September 2010. DEBBINS asked to meet with RIS 7 to discuss a business
matter. DEBBINS and RIS 7 subsequently exchanged a series of emails regarding DEBBINS’s
travel plans and arranging a meeting in Chelyabinsk. |

K. DEBBINS’s Meetings with the Russian Intelligence Service in 2010

62. On September 8, 2010, DEBBINS arrived in Russia. Three days later, on
September 11, 2010, DEBBINS emailed RIS 7, informing him that he was in Chelyabinsk and
would remain there until September 22.

63. While in Russia in September 2010, DEBBINS met RIS 5 and RIS 7 at least three
times. During these meetings, DEBBINS reemphasized that he wanted to pursue business
opportunities in Russia. RIS 5 and RIS 7 agreed to try to help him. RIS 5, however, encouraged
DEBBINS to seek employment with the U.S. Government.

64. During the meetings, RIS 5 and RIS 7 asked whether DEBBINS brought the field
manuals that RIS 5 had previously requested. DEBBINS explained that he did not bring the field
manuals because he was scared the U.S. Department of Homeland Security would have stopped
him at the airport and seized his electronic devices.

65. During the last meeting, RIS 7 introduced DEBBINS to a Russian national who,
according to DEBBINS, was involved in finding investors for an infrastructure project
(hereinafter, “RUSSIAN NATIONAL”). DEBBINS understood the RUSSIAN NATIONAL to
be a businessman connected to the Russian intelligence service. According to DEBBINS, RIS 7

and the RUSSIAN NATIONAL asked DEBBINS to find U.S. investors for the infrastructure
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project.

66. From September 2010 until at least January 2011, DEBBINS and the RUSSIAN
NATIONAL exchanged emails, many of which referenced the infrastructure project and/or other
business projects.

67. On November 5, 2010, the RUSSIAN NATIONAL emailed DEBBINS, stating
that he had not heard from DEBBINS in a long time. The RUSSIAN NATIONAL specifically
told DEBBINS that “Ivan,” the first name of RIS 7, sent his greetings.

68. Three days later, on November 8, 2010, DEBBINS responded to the RUSSIAN
NATIONAL and informed him that he was about to move to “the capital,” meaning Washington,
D.C.

69, On January 3, 2011, DEBBINS sent the RUSSIAN NATIONAL an email stating
that he had moved to “the capital,” meaning Washington, D.C., and that he was working on their
business matter.

70. In addition, after returning from Russia in September 2010, DEBBINS contacted
individuals in the United States about the infrastructure project—including a former Special
Forces team member in October 2010—and held himself out as the US. contact for the project
and the RUSSIAN NATIONAL as the Project Manager.

L. DEBBINS’s Attempts to Conceal His Relationship with the Russian Intelligence
Service

71. During the period between December 1996 and January 2011, DEBBINS failed to
report his contacts with the Russian intelligence service to the U.S. Government, even when he
was required to do so.

72. For example, DEBBINS submitted an SF-86 to the U.S. Government in April

2003 as part of a background investigation. The SF-86 included a question that required him to

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disclose his contacts with any foreign government, establishment of a foreign government, or
representatives of a foreign government. DEBBINS did not disclose his contacts with the
Russian intelligence service or any of its agents in the SF-86.

73. As described in paragraph 58, DEBBINS also failed to disclose his contacts with
the Russian intelligence service when required to do so on the SF-86 that he submitted in
October 2008.

74. | Moreover, after his travel to Russia in 2000 and 2003, DEBBINS was interviewed
about his travel by military S-2 officers—officers responsible for information security in a U.S.
Army unit and interviewing individuals following individual travel to identify potential security
threats. During his interviews with the S-2 officers, DEBBINS did not disclose his contacts with

the Russian intelligence agents, even when asked about his contacts there.

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COUNT ONE

CONSPIRACY TO GATHER OR DELIVER DEFENSE INFORMATION
TO AID A FOREIGN GOVERNMENT

THE GRAND JURY FURTHER CHARGES THAT:

A. Paragraphs | — 74 of the General Allegations section of this Indictment are
incorporated by reference and re-alleged as though set forth fully herein.

B. From in or around December 1996 to in or around January 2011, the exact dates
being unknown to the Grand Jury, both dates being approximate and inclusive, in an offense
begun and committed outside of the jurisdiction of any particular State or district of the United
States, the defendant, PETER RAFAEL DZIBINSKI DEBBINS, also known as “Ikar Lesnikov,”
who after the conduct required for the offense occurred is expected to be arrested in and first
brought to the Eastern District of Virginia, and whose last known address is in the Eastern
District of Virginia, did unlawfully and knowingly conspire with others, known and unknown to
the Grand Jury, to communicate, deliver, and transmit to a foreign government, to wit: the
Russian Federation, and representatives, officers, agents, employees, subjects, and citizens
thereof, directly and indirectly, documents, writings, and information relating to the national
defense of the United States, with the intent and reason to believe that such documents, writings,
and information were to be used to the injury of the United States and to the advantage of a
foreign government, namely, the Russian Federation.

C. In furtherance of the conspiracy, and to accomplish its objects, DEBBINS and his
conspirators committed overt acts, including but not limited to those described in the General
Allegations of this Indictment.

(All in violation of Title 18, United States Code, Section 794(a) & (c).)

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FORFEITURE

THE GRAND JURY FURTHER FINDS PROBABLE CAUSE THAT THE PROPERTY
DESCRIBED BELOW IS SUBJECT TO FORFEITURE:

L. The defendant, PETER RAFAEL DZIBINSKI DEBBINS, is notified pursuant to
Rule 32.2 of the Federal Rules of Criminal Procedure, that if he is convicted of the offense set
forth in Count One, he shall forfeit to the United States pursuant to Title 18, United States Code,
Section 794(d), the following property:

a. Any property constituting, or derived from, any proceeds the defendant
obtained, directly or indirectly, as the result of such violation; and

b. Any property used, or intended to be used, in any manner or part, to
commit or to facilitate the commission of such violation.

Zz Pursuant to Title 21, United States Code, Section 853(p), the defendant shall
forfeit substitute property, up to the value of the property subject to forfeiture if the property
subject to forfeiture (i) cannot be located upon the exercise of due diligence; (ii) has been
transferred, sold to, or deposited with a third party; (iii) has been placed beyond the jurisdiction
of the Court; (iv) has been substantially diminished in value; or (v) has been commingled with
other property that cannot be divided without difficulty.

3. The property subject to forfeiture includes at least $1,000.00 in U.S. currency,
representing proceeds the defendant obtained in the course of the conspiracy and property used
to facilitate the commission of the violations of Title 18, United States Code, Section 794, as

alleged in Count One of this Indictment.

(In accordance with Title 18, United States Code, Section 794(d).)

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DATE

By:

G, Zachary Terwilliger
United States Attorney

FEIIZE

Thomas W. Traxler ~~
James L. Trump
Assistant United States Attorneys

David Aaron

Trial Attorney, National Security Division
U.S. Department of Justice

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A TRUE BILL

Pursuant to the E-Government Act,,
The original of this page has been filed

the Clerk's Office
FOREPERSON
